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AO 91 (Rev. 11/11) Criminal Complaint v t
UNITED STATES DISTRICT COURT

for the
Southern District of Texas
United States of America ) l
V. ' ) CaseNo. ’-\1\'3 Vvto \L\c\\
, ) y `
Julio Francisco LEIJA y) `
Defendant(s) )

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief. v
On or about the date(s) of July 22, 2018 in the county of Hidalgo in the Southern District of Texas, the defendant(s) violated:

Code Sectl'on Ojj"ense Descr_iption
Title 21, United States Code, Sections 841, 846, & 952 Knowingly and intentionally import, possess, and conspire to possess
' - with intent to distribute approximately 4. 67 kilograms of cocaine, a
- Schedule II Controlled Substance, into the United States h‘om the
Republic of Mexico.

This. criminal complaint is based on these facts:

On July 22, -2018, Homeland Security Investigations Special Agents, responded to the Donna International Port of Entry in_
Donna, Texas in reference to a narcotics seizure. Julio Francisco LEIJA attempted entry into the United States as the driver and

' sole occupant of a white Ford Taurus, Texas license plates KYKS 145 . At primary inspection, US Customs and Border Protection
Oft`icers (CBPOS) referred LEIJA into secondary for inspection. At secondary inspection, CBPOs discovered four bundles
concealed inside a compartment in the engine area of the vehicle with a combined weight of approximately 4. 67 kilograms The
bundles were found to contain a substance that tested positive for the properties of cocaine.

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|:| ' Continued on the attached sheet. // 2 § § /

Complainant’s Signature
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Christopher Weber Special Agent

Printed name and title

Sworn to before me and signed in my presence. l .

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Date Judge' s signature

 

McAllen, »Texas - - Juan F.`Alanis U.S. Magistrate Judge
City and State . Printed name and title

 

 

